           Case 1:23-cv-04247-JPB Document 54 Filed 09/13/24 Page 1 of 4




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

A.J. and Q.C.,                           :
                                         :
      Plaintiffs,                        :       CIVIL ACTION FILE NO.
                                         :       1:23-cv-04247-JPB
      v.                                 :
                                         :
MASP, LLC,                               :
                                         :
      Defendant.                         :
                                         :

                     PLAINTIFFS’ EXPERT DISCLOSURES

      Pursuant to Rule 26(a)(2)(A) of the Federal Rules of Civil Procedure,

Plaintiffs submit the name of the expert witness Plaintiffs anticipate calling to

testify at trial to provide expert testimony in their respective field.

                              RETAINED EXPERT(S)

      (a) Anique S. Whitmore, LPC
         6300 Powers Ferry Road N.W., Suite 600-124
         Atlanta, Georgia 30339

      The report of the above-mentioned expert pursuant to Rule 26(a)(2)(B) of

the Federal Rules of Civil Procedure, is being served on Defendant in accordance

with this Court’s Scheduling Order.

      Respectfully submitted this 13th day of September, 2024.

                                             ANDERSEN, TATE & CARR, P.C.

                                             /s/ Jonathan S. Tonge_____________
                                             1
        Case 1:23-cv-04247-JPB Document 54 Filed 09/13/24 Page 2 of 4




                                       Patrick J. McDonough
                                       Georgia Bar No. 489855
                                       pmcdonough@atclawfirm.com
                                       Jonathan S. Tonge
                                       Georgia Bar No. 303999
                                       jtonge@atclawfirm.com
                                       Jennifer M. Webster
                                       Georgia Bar No. 760381
                                       jwebster@atclawfirm.com
                                       Attorneys for Plaintiffs

One Sugarloaf Centre
1960 Satellite Boulevard, Suite 4000
Duluth, Georgia 30097
(770) 822-0900 | Telephone
(770) 236-9784 | Facsimile




                                       2
        Case 1:23-cv-04247-JPB Document 54 Filed 09/13/24 Page 3 of 4




                      CERTIFICATE OF COMPLIANCE

      Pursuant to L.R. 7.1D, Counsel certifies that the foregoing document

complies with the font and point selections approved by the Court in L.R. 5.1.C.

This document was prepared using Times New Roman 14-point font.

                   Respectfully submitted this 13th day of September, 2024.

                                        ANDERSEN, TATE & CARR, P.C.

                                        /s/ Jonathan S. Tonge_____________
                                        Patrick J. McDonough
                                        Georgia Bar No. 489855
                                        pmcdonough@atclawfirm.com
                                        Jonathan S. Tonge
                                        Georgia Bar No. 303999
                                        jtonge@atclawfirm.com
                                        Jennifer M. Webster
                                        Georgia Bar No. 760381
                                        jwebster@atclawfirm.com
                                        Attorneys for Plaintiffs

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Duluth, Georgia 30097
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(770) 236-9784 | Facsimile




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        Case 1:23-cv-04247-JPB Document 54 Filed 09/13/24 Page 4 of 4




                          CERTIFICATE OF SERVICE

      I hereby certify that I have this day electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system which will automatically send

email notification of such filing to the attorneys of record.

                    Respectfully submitted this 13th day of September, 2024.

                                           ANDERSEN, TATE & CARR, P.C.

                                           /s/ Jonathan S. Tonge_____________
                                           Patrick J. McDonough
                                           Georgia Bar No. 489855
                                           pmcdonough@atclawfirm.com
                                           Jonathan S. Tonge
                                           Georgia Bar No. 303999
                                           jtonge@atclawfirm.com
                                           Jennifer M. Webster
                                           Georgia Bar No. 760381
                                           jwebster@atclawfirm.com
                                           Attorneys for Plaintiffs

One Sugarloaf Centre
1960 Satellite Boulevard, Suite 4000
Duluth, Georgia 30097
(770) 822-0900 | Telephone
(770) 236-9784 | Facsimile




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